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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Kameron E. Boudin,                                             Case No.

                         Plaintiff,
                                                               COMPLAINT
V.
                                                              JURY TRIAL DEMANDED
Jeremias "J.J." Krupich, acting in his individual             UNDER FED. R. CIV. P. 38(b)
capacity as an Otter Tail County Deputy, and
Otter Tail County,

                         Defendants.


         For his Complaint, Plaintiff Kameron E. Boudin ("Boudin") hereby states and alleges

as follows:

         1.       This is an action for money damages and nonmonetary relief, in the form of

discipline and training, for injuries sustained by Boudin as a result of the use of excessive

force and violation of his well-settled federal civil rights by Defendant Jeremias "J.J."

Krupich ("Krupich").

         2.       This cause of action arises purely out of 42 U.S.C. § 1983 and the Fourth and

Fourteenth Amendments to the United States Constitution. State law claims and, by

consequence, the limitations and defenses under state law are not applicable to this civil-

rights lawsuit.

         3.       Boudin was, at all times material herein, a citizen of the United States and a

resident of the State of Minnesota.

         4.       Boudin is a disabled Marine combat veteran who served multiple tours in Iraq

and Afghanistan.

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         5.       Upon information and belief, Defendant Krupich was, at all times material

herein, a duly appointed and acting deputy of the Otter Tail County Sheriff's Office. He is

sued in his individual capacity for misconduct occurring under color of state law.

         6.       Defendant Krupich has since been terminated from his position as a Deputy

with Otter Tail County.

         7.       Defendant Otter Tail County is a "public corporation," suable under Minn.

Stat. § 373.01, subd. 1(a)(1). Otter Tail County is, and at all times material herein was, a

political entity charged with control and supervision of all deputies of the Otter Tail County

Sheriff's Office.

         8.       Boudin brings this action pursuant to 42 U.S.C. 5§ 1983 and 1988, the Fourth

and Fourteenth Amendments to the United States Constitution, and 28 U.S.C. §§ 1331 and

1343(a)(3). The aforementioned statutory and constitutional provisions confer original

jurisdiction of this Court over this matter.

         9.       At approximately 9:46 p.m. on December 13, 2018, there was a 911 call for

service regarding a fight at The Doghouse Bar ("the bar") located at 123 E. Soo Street,

Parkers Prairie, Minnesota.

         10.      Parkers Prairie Police Department officer Paul Weltin ("Weltin") was the first

officer to arrive at the bar.

         11.      Shortly after Weltin's arrival, Boudin left the bar on foot.

         12.      Numerous other officers from different agencies responded to the bar,

including Defendant Krupich, Douglas County Sheriff's Deputies Carla Doll ("Doll") and




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Corey Sammons ("Sammons") and Henning Police Department officer Mike Helle

("Helle").

         13.      The officers were equipped with their department issued gear, including guns

and Tasers.

         14.      The officers were informed that Boudin was involved in the altercation at the

bar.

         15.      All of the alleged "victims" remaining at the bar denied the need for any

medical attention.

         16.      Believing that Boudin had left the bar to go to his home located nearby at 323

South Douglas Avenue in Parker's Prairie, Defendant Krupich, along with Weltin, Doll and

Sammons, drove the approximately .2 miles and attempted to locate Both:lin.

         17.      Defendant Krupich announced his intention to the assembled officers at the

bar that "Runnings (sic) going to get you beat" and "If you're yanking away I'm going to

beat you."

         18.      None of the assembled officers disagreed or intervened. Some laughed.

         19.      Defendant Krupich and other officers were informed by Boudin's girlfriend,

who also resided at 323 South Douglas Avenue, that Boudin was located in the front

bedroom of their home.

         20.      Otter Tail County Sergeant Robert Huckeby arrived at the scene as entry to

the home was being made.

         21.      Upon information and belief, Helle was also at the scene.




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         22.      Weltin and Defendant Krupich entered Boudin's home through the back

entrance off the deck.

         23.      Doll and Huckeby reportedly entered Boudin's home through the front

entrance.

         24.      Once inside Boudin's home, Weltin and Defendant Krupich walked to the

bedroom on the northeast corner.

         25.      Defendant Krupich entered the bedroom first.

         26.      Weltin followed Defendant Krupich into the bedroom.

         27.      Defendant Krupich reportedly had both his Taser and flashlight out as he

entered the bedroom.

         28.      Reportedly, Boudin was not initially visualized by Weltin or Defendant

Krupich.

         29.      Defendant Krupich removed a blanket from the foot of the bed and was able

to see Boudin lying on the floor, partially under the bed.

         30.      Eventually, Boudin provided one arm to Defendant Krupich.

         31.      Defendant Krupich grabbed Boudin's arm and pulled him partially out from

under the bed.

         32.      Weltin illuminated the bedroom with his flashlight during Defendant

Krupich's interaction with Boudin.

         33.      Defendant Krupich then reportedly lifted the bed up and pulled Boudin out

from under it.

         34.      At or around this time, Sammons entered the bedroom.



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         35.      Upon information and belief, Sammons was the only law enforcement officer

on the scene that was wearing a body worn camera ("BWC").

         36.      As such, after Sammons entered the bedroom, portions of Defendant

Krupich's interaction with Boudin were captured on his BWC video.

         37.      Sammons entered the bedroom at approximately 04:31:05 as denoted from

the BWC. The times from Sammons's BWC are in Zulu Time and are not reflective of the

actual time of day in the time zone that the incidents occurred.

         38.      When Sammons entered the bedroom, Krupich was to his left and bent over

Boudin, with Weltin to the right.

         39.      Shortly thereafter, Boudin stated: "ow, I'm trying to get out."

         40.      At approximately 04:31:09, Sammons, Weltin and Krupich are visible inside

the bedroom with Boudin laying supine on the floor.

         41.      At approximately 04:31:15, Defendant Krupich sat on Boudin, straddling his

torso, as Boudin was on the ground, still lying in a supine position.

         42.      Due to both Boudin's position and Defendant Krupich's position on top of

him, Boudin's movement was restricted.

         43.      Further, Boudin was surrounded by law enforcement and confined to his

bedroom.

         44.      At approximately 04:31:18, on the BWC, Both:lin stated clearly: "I can help

you."

         45.      This statement indicates to a reasonable officer that the subject has acceded to

police authority.


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         46.      From approximately 04:31:18 to 04:31:21 on the BWC, Defendant Krupich

directed Boudin to roll over onto his stomach while Defendant Krupich was still straddling

Boudin, making it impossible for him to comply.

         47.      Boudin replied logically and clearly: "I can't when you're holding me down...I

can help you if you..."

         48.      Defendant Krupich remained on top of Boudin's torso and/or hip area.

         49.      Sammons also had a hold of Boudin intermittently.

         50.      From approximately 04:31:26 to 04:31:32, two loud noises occur, while

Boudin was partially obscured by Defendant Krupich.

         51.      During that time, Defendant Krupich deliberately wound up and punched

Boudin a number of times in the face and forehead, which were exposed by his supine

position.

         52.      Defendant Krupich struck Boudin with such force as to shatter Boudin's

frontal sinuses and orbital walls.

         53.      Sammons's BWC captured at least one of Defendant Krupich's punches as it

landed on Boudin's face.

         54.      Defendant Krupich made good on his prior statement to the officers by

beating Boudin.

         55.      Boudin never struck Defendant Krupich or any other officer during this

incident.

         56.      Boudin never threatened any officer at the scene. Indeed, he repeatedly

expressed his desire to aid the officers in their interaction with him.


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         57.      Defendant Krupich was not faced with an immediate threat of serious bodily

harm or death to himself or others.

         58.      Defendant Krupich faced only one subject, Boudin.

         59.      Defendant Krupich had five other officers with him at Boudin's residence.

         60.      Defendant Krupich and the other officers had a very significant advantage in

physical positioning.

         61.      Defendant Krupich and the other officers were also armed.

         62.      Defendant Krupich had been or should have been trained in his 13 plus years

of law enforcement not to use head strikes unless absolutely necessary and to avoid

improper use of deadly force, including deadly force by head strikes.

         63.      Immediately after the strikes by Defendant Krupich, Boudin began moaning

and crying.

         64.      Immediately after the strikes by Defendant Krupich, Boudin's ability to

communicate was significant diminished. He began mumbling and speaking incoherently,

while continuing to express pain through both his words and tone of voice.

         65.      From approximately 4:32:06 to 4:32:16, Boudin moaned: "I can help you. It

hurts. I can help you. It hurts. You hit me."

         66.      Defendant Krupich admitted: "I did hit you."

         67.      Boudin continued moaning and repeatedly cried: "It hurts."

         68.      At approximately 04:33:12, Boudin attempted to explain to the officers that he

could not help them anymore because of the pain. He also apologized as he struggled to his

feet and was unable to walk on his own accord.


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         69.       Boudin's speech patterns remained negatively affected by the strikes from

Defendant Krupich and Boudin spoke of his pain using word-salad sentences, stating: "I'm

sorry, please, hurts..." and "please hurts" repeatedly as he was helped, barefoot through the

snow, to Weltin's squad car.

         70.       The change in Boudin's speech illustrated his significant frontal lobe injuries

and is well-documented on Sammon's BWC.

         71.       Sammons's vehicle was also equipped with a squad camera.

         72.       While Sammons's squad camera did not capture the punches by Defendant

Krupich, it did capture Sammons's description of the incident mere minutes after it

occurred.

         73.       At approximately 04:37:47 on the squad camera video, Sammons can be heard

making a phone call. The conversation proceeds as follows:

               •   Sammons:       What are you doing?
               •   Unknown:       Nothing, driving around.
               •   Sammons:       Holy shit, dude, Otter Tail does not fuck around, bro. (Laughs)
               •   Unknown:       Why?
               •   Sammons:       Dude, this kid starting resisting us, right? So, we're trying to flip
                                  him over. I mean pretty much fighting him on the fucking
                                  ground. So, he's lying on his back, won't roll over, and tenses
                                  his hands up, tenses his face up. This fucking Otter Tail County
                                  Deputy is on top of him and punches this dude in the face like
                                  six times as hard as he could.
               • Unknown:         (Laughs) Oh, really?
               • Sammons:         (Laughs) Yeah, so, I'm like no, what in the — why?
               • Unknown:         (Laughs) Nice.

         74.       No objectively reasonable officer would have delivered multiple, extremely

forceful head strikes to Boudin under these circumstances.



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         75.      Sammons' conversation in the recorded phone call depicts the force with

which Defendant Krupich hit Boudin.

         76.      Further, Sammons' recorded phone call conversation illustrates that Sammons

was both surprised and gallingly amused by the use of force by Defendant Krupich, which

severely and permanently injured Boudin's frontal lobe.

         77.      Knowing that Boudin was injured, Weltin transported Boudin to Lake Region

Healthcare in Fergus Falls ("Lake Region").

         78.      At Lake Region, Weltin and Boudin were met by another Otter Tail Deputy,

Chris Peterson, who helped remove Boudin from the squad and placed him in a wheelchair

because he could not walk.

         79.      Boudin presented to Lake Region with ecchymosis with abrasions and

swelling of the forehead and left periorbital region. He also had dried blood in both nostrils,

but was breathing fine.

         80.      A CT of Boudin's head showed the following:

                  Severely comminuted and mildly to moderately displaced and
                  depressed fractures of the outer table of the frontal sinuses bilaterally.
                  This fracture extends to the left superior orbital wall with
                  predominantly left intraorbital soft tissue injury...Moderate soft tissue
                  edema in the bilateral frontal regions. Moderate left periorbital edema
                  and scattered gas in the left periorbital region. Gas and small
                  hematoma extends to the superior aspect of the left orbit in the
                  extraconal space.

         81.      Due to the severity of his injuries, the on-call facial trauma surgeon at

Sanford Medical Center in Fargo, North Dakota ("Sanford") was consulted and he

recommended transport to his facility.



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         82.    Upon the recommendation, Boudin was transported from Lake Region to

Sanford via ambulance.

         83.    At Sanford, it was noted Boudin had superficial wounds to his knees and

hands.

         84.    However, it was due to his extensive facial trauma that he was admitted to the

hospital on December 14, 2018.

         85.    As Sanford, both the facial trauma and the on-call surgery teams were

consulted regarding Boudin's injuries.

         86.    Boudin's primary diagnosis upon arrival to Sanford included the following:

1) assault and 2) comminuted and depressed frontal bone fractures involving the orbital roof

on each side.

         87.    Boudin was further diagnosed with major depressive disorder and post-

traumatic stress disorder while at Sanford.

         88.    During Boudin's December 14, 2018 consultation with plastic and

reconstructive surgery, Dr. Jimmy Chim noted the severity of Boudin's factures, which

required surgical intervention.

         89.    Below are images showing the severity of Boudin's injuries before he

underwent surgery:




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         90.   On December 16, 2018, Boudin underwent surgery with Dr. Chim.

         91.   The procedures performed by Dr. China included: 1) open bilateral frontal

sinus interrogation and sonograms; 2) open reduction and internal fixation of bilateral

frontal sinus fractures; 3) open reduction and internal fixation of left superior orbital rim and

roof fractures; and 4) closed reduction of nasal septal fracture.

         92.   To start, a bicoronal incision was made across the top of Boudin's scalp.

         93.   With hooked retraction, Dr. Chim entered into the subgaleal plane and

dissected the bicoronal flap forward.

         94.   Once Dr. Chim reached the region approximately 3 to 4 centimeters from the

cephalad to the lateral brows, he incised the temporalis fascia bilaterally in order to protect




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the frontal nerves and then extended the incision into the pericranium to create a pericranial

flap.

         95.      Next, the pericranial flap was elevated to expose the frontal bones of Boudin's

head all the way down to his nasal bridge.

         96.      Essentially, this involved peeling the front top of Boudin's head and face off

to be able to repair these very severe fractures.

         97.      Further dissection exposed Boudin's frontal sinus fractures and the fractures

along the left superior orbital rim and roof.

         98.      The operative note states that Boudin's "fractures were quite comminuted and

complex involving the left supratrochlear neurovascular bundle."

         99.      As such, the neurovascular bundle was identified, dissected off the fracture

fragments and preserved.

         100. Portions of Boudin's superior orbital rim and roof were extracted from the

fracture site in order to plan the fixation.

         101. An absorbable reduction plate was placed along Boudin's superior orbital roof

"to reduce the extensive amount of periorbital fat herniating into the frontal sinus." In

order to do so, Dr. Chim placed a custom cut plate beneath the orbital roof bonds and

superior to the orbital contents.

         102. The remaining fragments of Boudin's superior orbital roof and rim were then

fixated with mini titanium plates and self-tapping screws.

         103. Next, Dr. Chim debrided part of Boudin's frontal sinus bone, mucous and

devitalized mucosa from both sinuses.


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         104. Dr. Chim then piecemealed the large bony fragments of both frontal sinus

anterior tables together and fixated them with a combination of linear, Y, H, X, box and grid

plates with self-tapping 4 millimeter screws in order to reconstruct the contour of Boudin's

forehead.

         105. Boudin's pericranial flap was then replaced over the reconstruction of his

frontal lobe and sinuses. To do so, it was tacked to the residual pericranium with sutures.

Then, Boudin's bilateral temporalis fascia incision was re-approximated with sutures.

         106. A drain was placed underneath the bicoronal flap exiting the right

postauricular skin.

         107. Then, Boudin's bicoronal flap was reapproixmated and closed using deep

interrupted sutures.

         108. A combination of sutures were placed over the top.

         109. Dr. Chim next addressed Boudin's bilateral nasal cavities.

         110. The fractured septum with septal deviation to the right constricting the right

nasal airway was confirmed, but the bones were solid to palpation, leading Dr. Chim to

believe the nasal fractures seen on the CT were "old and healed."

         111. Dr. Chirn reduced the fracture and stabilized it with splints.

         112. In total, 27 screws and 7 plates were placed into Boudin's head.

         113. Below are images of Boudin's injuries post-surgical intervention, which show

the hardware placed in his head:




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         114. Below are photographs of Boudin after the surgical intervention. The

photographs show the re-approximation of the portion of his head and face that were peeled

off in order to repair his fractures and the deformity of his forehead due to the injuries he

sustained on December 13, 2018 and the surgical intervention:




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         115. During his admission to Sanford, Boudin had one rapid behavior health

response that required the administration of Haldol, an antipsychotic, and led to a

psychology consultation.

         116. Behavior and personality changes and outbursts are known sequelae of frontal

lobe injuries.

         117. During his psychology consultation on December 18, 2018, Boudin endorsed

the onset of nightmares after the December 13, 2018 altercation with police at his home.

         118. Further, during his admission at Sanford, Boudin noted that the recent trauma

on December 13, 2018 had brought memories from his prior trauma to the surface. He

explained that when he closes his eyes he sees bad things happening around him.

         119. The December 13, 2018 incident negatively impacted and exacerbated

Boudin's mental health.


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         120. After the surgical intervention and during his admission at Sanford, Boudin

reported double vision, pain, swelling and photosensitivity.

         121. Further, Boudin demonstrated organic cognitive deficits with attention,

reasoning and planning and it was noted he was now impulsive and also easily agitated and

irritable with stimulation.

         122. Boudin was restricted from many activities upon his discharge from Sanford

on December 19, 2018, including from working, driving and even blowing his nose.

         123. As such, Boudin would need 24/7 assistance with activities of daily living, in

addition to outpatient occupational therapy to address visual perceptual deficits and high-

level cognition issues — organic results of the frontal lobe injuries he sustained on December

13, 2018.

         124. Boudin remains limited in what he can physically and mentally handle due to

the injuries he sustained on December 13, 2018.

         125. Boudin's pain from the injuries he sustained on December 13, 2018 continues

and has been debilitating.

         126. Boudin's personality remains organically altered due to the severe frontal lobe

injuries he sustained on December 13, 2018.

         127. Boudin's cognitive functioning and mental health were organically altered in a

negative way by the December 13, 2018 incident.

         128. Boudin's eye and brain functioning have been negatively altered from the

December 13, 2018 incident, requiring on-going therapy.




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             129. Boudin remains permanently disfigured and scarred from the December 13,

2018 incident and required surgical intervention.

             130. Due to the extensive and severe injuries he sustained at the hands of

Defendant Krupich, Boudin has been out of work since the date of the incident.

             131. Due to the extensive and severe injuries he sustained at the hands of

Defendant Krupich, Boudin has been unable to drive since the date of the incident.

             132. Minn. Stat. 5 466.07 requires indemnification of Defendant Krupich by Otter

Tail County.

             133. As required under Minn. Stat. § 466.07(1), Defendant Krupich was acting in

the performance of his duties as an Otter Tail County deputy on December 13, 2018 when

he delivered the punches to Boudin's head.

          134. None of the exclusions in Minn. Stat. § 466.07(2) apply to Defendant

Krupich's actions on December 13, 2018.

          135. In a December 21, 2018 letter to the Bureau of Criminal Apprehension

("BCA"), Otter Tail County Lt. Keith Van Dyke, on behalf of Otter Tail County Sheriff

Brian Schlueter, requested the BCA's assistance in investigating the December 13, 2018

actions of Defendant Krupich.

          136. Within the letter, Van Dyke provided his synopsis of the December 13, 2018

events.

          137. Van Dyke's synopsis of the December 13, 2018 events was favorable to

Defendant Krupich as it provided justification for his actions and explained away

Sammons's description of Defendant Krupich's actions in the above-included phone call


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(which he later "corrected"). Further, no comparison of Defendant Krupich's conduct and

Otter Tail County polices, practices and training, or Minnesota law, was included by Van

Dyke. Also omitted was any mention that Krupich had twice stated his intent to beat

Boudin back at the bar prior to encountering him at his residence.

          138. Van Dyke's synopsis is an endorsement of Defendant Krupich's conduct and

estops Otter Tail from asserting any excuse for indemnification.

          139. Despite Van Dyke's endorsement of Defendant Krupich, Otter Tail County

subsequently terminated his employment.

          140. Van Dyke's letter provided an outline for the BCA to come to the usual,

predetermined and preordained result and, therefore, Defendant Krupich was not charged as

a result of the BCA's investigation.

          141. Yet, almost a year after the incident, Boudin was charged with two counts of

fifth degree assault, one count of disorderly conduct and one count of fleeing a peace

officer. All of these charges are misdemeanors. The timing shows they are retaliatory in

nature.

                                        COUNT ONE

             42 U.S.C. § 1983 — FOURTH AND FOURTEENTH AMENDMENT
                                     VIOLATIONS
                           Plaintiff Boudin v. Defendant Krupich

          142. Boudin realleges and incorporates by reference herein each and every

allegation contained in each above paragraph as though fully set forth herein.




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         143. Defendant Krupich violated Boudin's Fourth and Fourteenth Amendment

rights to be free from excessive force by punching him in the face multiple times on

December 13, 2018.

         144. By the actions described above, Defendant Krupich, under the color of state

law, deprived Boudin of his clearly established and well-settled rights to be free from

excessive force under the Fourth and Fourteenth Amendments to the United States

Constitution.

         145. Defendant Krupich subjected Boudin to this deprivation of rights either

maliciously or with reckless disregard for whether his rights would be violated.

         146.   As a direct and proximate result of the acts and omissions of Defendant

Krupich, Boudin suffered severe and permanent injuries, was forced to endure severe pain

and mental suffering, and was thereby damaged in an amount to be determined by a jury.

         147. Punitive damages are available against Defendant Krupich and are claimed as

a matter of right under federal common law and Smith v. Wade, 461 U.S. 30 (1983), and as

such, are not subject to the pleading requirements or the differing standard of proof set

forth in Minn. Stat. § 549.20.

         148. Boudin is entitled to recovery of his costs, including reasonable attorneys' fees

under 42 U.S.C. § 1988.

                                        COUNT TWO

42 U.S.C. § 1983 — FAILURE TO TRAIN UNDER CITY OF CANTON V. HARRIS
                      Plaintiff Boudin v. Defendant Otter Tail County

         149.   Boudin realleges and incorporates by reference herein each and every

allegation contained in each above paragraph as though fully set forth herein.

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         150.    Upon information and belief, before December 13, 2018, Otter Tail County

intentionally, knowingly, recklessly or with deliberate indifference to the rights of citizens,

failed to properly train Defendant Krupich in the constitutionally proper use of force.

         151. Absent proper training, continued monitoring and discipline of its deputies,

including Defendant Krupich, it is foreseeable that instances of excessive force will occur.

         152. As a direct and proximate result of the acts and omissions by Otter Tail

County, Boudin suffered severe and permanent injuries, was forced to endure great pain and

mental suffering, and was damaged in an amount to be determined by a jury.

         153. Boudin is entitled to fully recover his costs, including reasonable attorneys'

fees under 42 U.S.C. § 1988.

         WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

         1.      That this Court find that Defendants Krupich and Otter Tail County

committed acts and omissions violating the United States Constitution, actionable under 42

U.S.C. § 1983;

         2.      As to Count One, a money judgment against Defendant Krupich for

compensatory and punitive damages in an amount to be determined by a jury, together with

costs, including reasonable attorneys' fees under 42 U.S.C. § 1988, and prejudgment interest;

         3.      As to Count Two, a money judgment against Otter Tail County for

compensatory damages in an amount to be determined by a jury, together with costs,

including reasonable attorneys' fees under 42 U.S.C. § 1988, and prejudgment interest;




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         4.       For an order mandating changes in the training, policies and procedures of the

Otter Tail County Sheriff's Department requiring, among other things, discipline for the use

of such excessive force executed by Defendant Krupich on December 13, 2018; and

         5.       For such other and further relief as this Court may deem just and equitable.



                                               ROBINS KAPLAN, LLP


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